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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA,                 )
                                           )
            v.                             ) No. 17-CR-10092-NMG
                                           )
GARY P. DECICCO,                          )
                                           )
                  Defendant.               )
__________________________________________)


      MOTION OF DEFENDANT GARY P. DECICCO TO COMPEL DISCOVERY

       Pursuant to Fed. R. Civ. P. 16 and Local Rules 116.1 and 116.2, Defendant Gary P.

DeCicco, through his counsel, respectfully submits this Motion to Compel. Pursuant to L.R.

7.1(b)(4), Mr. DeCicco further moves for leave to file a Memorandum of Law in support of the

Motion in excess of the twenty page limit.

       As grounds for this Motion, Mr. DeCicco states that the government has declined to

produce exculpatory documents under Brady and Giglio, including in response to Requests 11,

19, 23, 24, and 38 from Mr. DeCicco’s discovery letter dated March 6, 2018. This is despite

troubling irregularities in the production to date, as explained in more detail in the accompanying

Memorandum of Law, that cast doubt on the government’s case against Mr. DeCicco.

       The government has further refused to provide adequate responses to numerous other

requests for discovery of documents and information material to preparing the defense under

Rule 16, including Requests 3-8, 13, 14, 16, 18, 21, 22, 23, and 25, necessitating this Motion and

the excess length of the Memorandum of Law filed in support. As the Memorandum of Law will

show, the defendant makes a prima facie showing of how the documents and information

requested, in each of the requests that the government has declined to provide requested
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information, is material to preparing the defense because it can be used to refute the

government’s case, uncover admissible evidence, aid witness preparation, corroborate testimony,

and/or assist impeachment or rebuttal. See United States v. Goris, 876 F.3d 40, 44-45 (1st Cir.

2017).

         In further support of this Motion, Mr. DeCicco relies on the facts and arguments

contained in the Memorandum of Law submitted together with this Motion.

                             REQUEST FOR ORAL ARGUMENT

         Pursuant to Local Rule 7.1(d), counsel for Mr. DeCicco respectfully requests oral

argument on this Motion.

                                                            Respectfully submitted,

                                                             GARY P. DECICCO

                                                            By his attorneys,

                                                            /s/ Thomas C. Frongillo__________
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Dated: April 18, 2018                                       Fax: (781) 289-9468
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                          LOCAL RULE 7.1(a)(2) CERTIFICATION

       I hereby certify that pursuant to L.R. 7.1(a)(2) that I have conferred with the United

States, through Assistant United States Attorney Kristina Barclay, prior to the filing of this

motion in a good faith attempt to resolve or narrow the areas of dispute, and the government

opposes the relief requested.


                                                              /s/ Caroline K. Simons
                                                              Caroline K. Simons

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was filed on April 18, 2018

through the CM/ECF system and will be served electronically to registered CM/ECF participants

as identified on the Notice of Electronic Filing.

                                                              /s/ Thomas C. Frongillo
                                                              Thomas C. Frongillo
